         Case 1:19-cv-01971-TDC Document 231 Filed 10/31/22 Page 1 of 2



                  IN THE LTNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF MARYLAND

TIMMEKA HARRIS-REESE, e, a/.                  I
                                              *
              Plaintiffs,                     *
                                              *
       Y.                                     *      Civil No. TDC-19-cv-1971
                                              *
                                              *
UNITED STATES OF AMERICA, eral.               *
                                              *
              Defendants.                     *
                                              *
                                           ******
                                   NOTICE OF APPEAL

       The United States of Americ4 by its attomeys, Erek L. Banon, United States Attomey for

the District of Maryland and Roann Nichols and Rebecca A. Koch, Assistant United States

Attomeys, hereby appeals to the United States Court of Appeals for the Fourth Circuit from the

Memorandum and Opinion (Docket No. 225) and Judgment (Docket No. 230).



                                                     Respectfu lly submitted,

                                                     Erek L. Barron
                                                     United States Attomey


                                           By:
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                                                                                lbft
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         Case 1:19-cv-01971-TDC Document 231 Filed 10/31/22 Page 2 of 2



                               CERTIFICATE OF SERVICE

       I certifr that on O ctober 31,2022, a copy ofthe foregoing Notice of Appeal was served on

counsel of record by the Court's CM/ECF system.




                                                  Vllrrr*lrcl"/6W
                                                   Rebecca Koch
                                                   Assistant United States Attomey




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